          Case 1:19-cv-03068-FYP Document 10 Filed 11/20/19 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE CENTER FOR REPRODUCTIVE                      )
RIGHTS,                                          )
                                                 )
               Plaintiff,                        ) Civil Action No. 19-3068-RDM
                                                 )
v.                                               )
                                                 )
UNITED STATES DEPARTMENT OF                      )
HEALTH AND HUMAN SERVICES,                       )
                                                 )
               Defendants.



                            CORRECTED NOTICE OF APPEARANCE


       The Clerk of Court will please enter the appearance of Alice Buttrick as counsel for the

Plaintiff in the above matter.


November 20, 2019                                 Respectfully submitted,


                                                  /s/ Alice Buttrick
                                                  Alice Buttrick (pro hac vice)
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                                                  Attorney for Plaintiff the Center for
                                                  Reproductive Rights
           Case 1:19-cv-03068-FYP Document 10 Filed 11/20/19 Page 2 of 2




                                   CERTIFICATE OF SERVICE


         I hereby certify that on November 20, 2019, I electronically filed the Corrected Notice of

Appearance with the Clerk of the Court via the Court’s CM/ECF filing system, who in turn sent

notice to all parties of record.




Dated:     November 20, 2019                          /s/ Alice Buttrick
                                                      Alice Buttrick
